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                          UNITED STATES DISTRICT COURT
                         OF THE DISTRICT OF CONNECTICUT

 KIMBERLY A. NEGRON, Individually and on
 Behalf of All Others Similarly Situated,
                                                    No. 3:16-cv-1702
                              Plaintiff,

        vs.
                                                    December 1, 2016
 CIGNA CORPORATION and CIGNA HEALTH
 AND LIFE INSURANCE COMPANY,

                              Defendants.



 DANIEL PERRY, Individually and on Behalf of
 All Others Similarly Situated,                     No. 3:16-cv-1904

                              Plaintiff,

        vs.

 CIGNA CORPORATION and CIGNA HEALTH
 AND LIFE INSURANCE COMPANY,
 OPTUMRX, INC.

                              Defendants.



                             ORDER GRANTING PLAINTIFFS’ MOTION TO
               CONSOLIDATE AND APPOINT INTERIM CLASS COUNSEL

       Having considered the Plaintiffs’ Motion to Consolidate and Appoint Interim Class

Counsel (the “Motion”), ECF No. 8, (16-cv-1702), along with Plaintiffs’ Supplemental

Memorandum filed in support of the same reflecting Defendants’ positions regarding the Motion,

and good cause appearing therefore, the Court ORDERS as follows:

       1.       The motion is GRANTED as follows;




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       2.       Pursuant to Rule 42(a) of the Federal Rules of Civil Procedure, the following

actions, which are currently pending in this District, are hereby consolidated for pretrial purposes

under Case Number No. 16-CV-1702 (WWE):

                   a. Negron v. CIGNA Corporation et al., No. 16-CV-1702 (WWE);

                   b. Perry v. CIGNA Corporation et al., No. 16-CV-1904 (filed November 17,

                       2016);

       3.       The caption for the consolidated actions shall be In Re CIGNA Corporation PBM

Litigation, Case No. 16-CV-1702 (WWE).

       4.       All actions filed in this District subsequent to Case No. 16-CV-1702 (WWE), or

subsequently transferred into this District, that are based upon similar factual allegations and legal

theories, shall likewise be consolidated into Case No. 16-CV-1702 (WWE) for pretrial purposes,

subject to Defendants’ right to object to such consolidation.

       5.       Plaintiffs shall file a master Consolidated Complaint, which will serve as the

operative complaint for the consolidated action, within 30 days following the date of this Order;

       6.       Defendants shall file a response (answer, motion or other response) to Plaintiffs’

Consolidated Complaint within 60 days from the date Plaintiffs file the Consolidated Complaint;

       7.       Plaintiffs shall file an opposition to Defendants’ response, if necessary, within 30

days from the date Defendants file their response;

       8.       Defendants shall file a reply within 21 days from the date Plaintiffs file their

opposition;

       9.       Deadlines in the Court’s standing pre-trial order relating to the close of discovery,

filing of dispositive motions and filing for class certification are suspended, and will be addressed

in the Rule 16 conference. The Parties shall hold their Rule 26(f) Conference within 30 days of the



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filing of the Consolidated Complaint, and shall submit their Rule 26(f) Report within 14 days of

the Rule 26(f) Conference.

       10.    Pursuant to Rule 23(g) of the Federal Rules of Civil Procedure, Robert A. Izard of

Izard, Kindall & Raabe, LLP and William H. Narwold of Motley Rice LLC are appointed as

Plaintiffs’ Interim Co-Lead Class Counsel; and

       11.    Joseph P. Guglielmo of Scott+Scott, Attorneys at Law, LLP is hereby appointed

Chair of Plaintiffs’ Executive Committee. Brian C. Gudmundson of Zimmerman Reed, LLP;

Andrew A. Lemmon of Lemmon Law Firm LLC; Ronen Sarraf of Sarraf Gentile LLP; Derek

Loeser of Keller Rohrback, LLP; Karen Hanson Riebel of Lockridge Grindal Nauen PLLP; and

E. Kirk. Wood of Wood Law Firm, LLC; are hereby appointed to Plaintiffs’ Executive Committee.
                              8th day of ___________________,
       IT IS SO ORDERED this ____           December          2016.




                                                                /s /
                                           Senior USDJ Warren W. Eginton
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 18, 2016, I caused the foregoing to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to the email addresses denoted on the Electronic Mail Notice List, and I hereby certify that

I caused the foregoing document or paper to be mailed via the United States Postal Service to the

non-CM/ECF participants indicated on the Manual Notice List.

                                                                  /s/ Robert A. Izard
                                                    Robert A. Izard (ct01601)
                                                    Proposed Interim Co-Lead Class Counsel
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                                                    29 South Main Street, Suite 305
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